Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 1of7 Page ID #:357

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 1 of7

 

 

Present: The Honorable GEORGE H. WU, UNITED STATES DISTRICT JUDGE

 

 

 

Javier Gonzalez None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: INCHAMBERS — RULING PLAINTIFFS’ MOTION FOR ORDER
STAYING CASE [33]

A. Background!

The plaintiffs (“Plaintiffs”) filed a motion to stay this CERCLA action, pending the
outcome of their appeal in a related CERCLA action (“Arconic I’) — also before this Court —
concerning the same Superfund site, but against a different group of defendants. The defendants
in Arconic J argued that the statute of limitations on Plaintiffs’ CERCLA contribution claim had
already expired back in 2010, because a 2007 settlement agreement involving Plaintiffs was
sufficiently tied to their contribution claim to trigger CERCLA’s 3-year statute of limitations. The
Court agreed with the Arconic J defendants and dismissed the claim as time-barred. See Arconic
7 Ruling.

Plaintiffs’ contribution claim in this action may be sufficiently connected to that 2007
settlement agreement to also be time-barred. Plaintiffs contend that the Court’s finding was

incorrect, and that the statute of limitations did not expire until March 2020. While they made that

 

1 The Court uses the following abbreviations for the filings: (1) Complaint (“Compl.”), ECF No. 1: (2)
Plaintiffs’ Motion to Stay (“Mot.”’), ECF No. 33; (3) Declaration of Valenzuela (“Valenzuela Decl.”), ECF No. 33-1;
(4) Vanowen’s Opposition to Motion to Stay (“Opp.”), ECF No. 46; (5) Plaintiffs’ Reply in Support of Motion to Stay
(“Reply”), ECF No. 51; (6) Court Ruling on Arconic I MSJ (“Arconic J Ruling”),. 2:14-cv-06456-GW-(Ex) ECF No.
809.

? That case is also before this Court: Arconic, Inc. et al v. APC Investment Co., No. 2:14-cv-06456-GW-(Ex).
The Plaintiffs here are a subset of the Arconic J plaintiffs.

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 2of7 Page ID #:358

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 2o0f7

 

 

argument to the Ninth Circuit in their Arconic J appeal, Plaintiffs filed the complaint in this action
just ahead of that March 2020 deadline to preserve their claim in case the Ninth Circuit agrees with
them about the statute of limitations. They then moved for a stay pending the outcome of their
appeal.

B. Origins of the Superfund Site

The contaminated site at the center of all this is the Omega Chemical Corporation
Superfund Site (the “Site”), located in Whittier, California. Compl. § 141. Omega Chemical
Corporation (“Omega Chemical”) operated a refrigerant and solvent recycling and treatment
facility at the Site from approximately 1974 to 1995, contaminating the surrounding subsurface
soil and groundwater and leading the EPA to designate it a Superfund site.

Plaintiffs are a subset of companies that allegedly sent chemicals to Omega Chemical’s
facility for processing and recycling.* Compl. § 4. The EPA contends that this contributed to the
Site’s contamination, and as a result Plaintiffs have incurred significant costs working with the
EPA on investigating the contamination and preparing remediation plans. Jd. § 5.

C. The Arconic J action

In 2014, Plaintiffs brought a CERCLA contribution claim against the defendants in Arconic
I, alleging that the defendants owned properties or operated businesses near the Site that
contributed to the soil and groundwater contamination. The Court, however, found that the statute

of limitations had already expired because of an earlier 2007 settlement agreement involving

 

3 Plaintiffs are: Arconic Inc.; MACOM Connectivity Solutions, LLC (formerly known as Applied Micro
Circuits Corporation); BASF Corporation; Baxter Healthcare Corporation; C. T. L. Printing Industries, Inc. (formerly
known as Cal-Tape & Label Co.); California Hydroforming Company, Inc.; Columbia Showcase & Cabinet Company,
Inc.; Crosby & Overton, Inc.; Disney Enterprises, Inc.; FHL Group: Forenco, Inc.; General Dynamics Corporation;
Hercules LLC (formerly known as Hercules Incorporated); Hexcel Corporation; Honeywell International Inc.;
International Paper Company; Los Angeles County Metropolitan Transportation Authority; Masco Building Products
Corporation (formerly known as Masco Corporation of Indiana); Mattel, Inc.; Merck Sharp & Dohme Corp.;
Pilkington Group Limited; Quest Diagnostics Clinical Laboratories, Inc.; Raytheon Company; Safety-Kleen Systems,
Inc.; Soco West, Inc.; Sparton Technology, Inc.; The Boeing Company; The Dow Chemical Company; TriMas
Corporation; and Univar Solutions USA Inc. (formerly known as Univar USA Inc.)

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 3o0f 7 Page ID #:359

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 3of7

 

 

Plaintiffs.

That settlement arose from yet another CERCLA action, this one commenced in 2004 by
the Omega Chemical Potentially Responsible Parties Organized Group (“OPOG”), an
unincorporated association of public and private entities — including Plaintiffs — that the EPA found
may have contributed to the Site’s contamination. OPOG sued over 200 defendants that it alleged
were responsible for the hazardous substances processed at the Site and therefore also contributed
to the contamination. It sought contribution under CERCLA from the defendants to recover costs
OPOG members incurred in investigating the contamination at the Site and preparing remediation
plans.

In 2007, OPOG and the defendants entered into a settlement that purported to resolve the
parties’ “claims against each other with regard to their responsibilities for the [Site].”. Arconic I
Ruling at 12. The Court found that the settlement triggered CERCA’s statute of limitations, which
states that “[n]o action for contribution for any response costs or damages may be commenced
more than 3 years after . . . entry of a judicially approved settlement with respect to such costs or
damages.” 42 U.S.C. § 9613(g)(3)(B). Plaintiffs contend that the settlement did not cover the
same “costs or damages” as their contribution claim in Arconic J. They argue that the clock on
their Arconic J claim did not begin until 2017, when they and various other parties entered into a
consent degree with the federal government and the State of California governing the Superfund
site. The Court disagreed and dismissed Plaintiffs’ claim. Plaintiffs appealed that finding to the
Ninth Circuit.

D. This action

In March 2020, Plaintiffs brought this action against an entirely new group of defendants

(“Defendants”)*, alleging that defendants owned properties or operated businesses near the Site

 

4 Defendants are: Cal-Tron Plating, Inc.; Electronic Chrome & Grinding Co., Inc.; Duncan Industries, Inc.:
Dennis O’Meara; Halliburton Energy Services, Inc.; Mid-West Fabricating Co.; Omega Chemical Corporation; Santa
Fe Rubber Products, Inc.; Sunrise Properties, LLC; and Vanowen Holdings, LLC.

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 4of7 Page ID #:360

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 4of7

 

 

that contributed to the soil and groundwater contamination. Plaintiffs recognize that their claims
are “substantially similar to the CERCLA claims asserted in Arconic J, and therefore may be
subject to the same statute of limitations — in which case they would also be time-barred. Mot. at
1. Nevertheless, they filed the complaint while the Arconic J appeal was still pending to ensure its
timeliness in the event the Ninth Circuit agrees with their position that the statute of limitations
did not expire until March 31, 2020. Plaintiffs now seek a stay of this action pending that appeal.
Two of the ten defendants have not yet been served; of the eight who have been served, six of them
are unopposed to the stay and one of them is neutral. Valenzuela Decl. §§ 7, 15-18. Only defendant
Vanowen Holdings, LLC (“Vanowen’) is opposed to the motion.

E. Legal Standard

“A district court has discretionary power to stay proceedings in its own court.” Lockyer v.
Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005). This power “‘is incidental to the power inherent
in every court to control the disposition of the causes on its docket with economy of time and effort
for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 399 U.S. 248, 254 (1936). Using
this power “calls for an exercise of judgment, which must weigh competing interests and maintain
an even balance.” Jd. at 254-55. These competing include: (1) “the possible damage which may
result from the granting of a stay”; (2) “the hardship or inequity which a party may suffer in being
required to go forward”; and (3) “the orderly course of justice measured in terms of the simplifying
or complicating of issues, proof, and questions of law which could be expected to result from a
stay.” Lockyer, 398 F.3d at 1110.

F. Discussion

The only real harm Vanowen identifies from a stay is that it would deprive Vanowen of
“an expeditious determination of its motion to dismiss.” Opp. at 4 (emphasis added). Vanowen’s
motion to dismiss is scheduled for July 2020. Oral argument on Plaintiffs’ appeal in Arconix I was

held back in March 2020. Most cases are decided by the Ninth Circuit within 3 months to a year

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 5of7 Page ID #:361

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 5of7

 

 

of oral argument, suggesting that Vanowen would likely have to wait at most 8 more months if a
stay were granted. The Court does not find this particularly harmful.

What Vanowen really appears to be concerned about is losing the issue-preclusion
(sometimes referred to as collateral estoppel)’ defense it raises in its motion to dismiss. According
to Vanowen, Plaintiffs’ contribution claim against it seeks to recover the same costs as in Arconix
J, and that Plaintiffs are therefore precluded from arguing that the 2007 settlement did not trigger
the statute of limitations. Therefore, Vanowen is entitled to a finding that Plaintiffs’ claim against
it is also time-barred.

It is true, as Vanowen argues, that “a final judgment retains its collateral estoppel effect, if
any, while pending appeal.” Collins v. D.R. Horton, Inc., 505 F.3d 874, 882 (9th Cir. 2007).
However, this rule can be problematic, because it “creates the potential for a collateral estoppel-
based judgment based on a prior judgment that is subsequently vacated or reversed on appeal.” Jd.
That is the problem the Court faces here — should it proceed to the merits of Vanowen’s issue-
preclusion defense when that issue is on appeal before the Ninth Circuit? For district courts, this
problem “can be avoided, whether by delaying further proceedings in the second action pending
conclusion of the appeal in the first action, by a protective appeal in the second action that is held
open pending determination of the appeal in the first action, or by a direct action to vacate the
second judgment.” Jd. at 883 (citing Wright & Miller § 4433) (emphasis added). Contrary to what
Vanowen argues, Plaintiffs’ desire for a stay does not “subvert and avoid the federal rule of finality
of district court judgments,” but rather has been explicitly recognized by the courts as a solution

to a problem. Opp. at 4. Going ahead with this action and deciding the issue-preclusion defense

 

> The parties both use the term “res judicata” in its broader sense, to refer collectively to both claim preclusion
and issue preclusion. The Court, however, refers to the two separately and will not use the term res judicata because
of the confusion it may cause — res judicata is sometimes used more narrowly to refer only to claim preclusion. See,
e.g., Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc., 140 S.Ct. 1589, 1594 (2020) (“The first is issue
preclusion (sometimes called collateral estoppel) . . .. The second doctrine is claim preclusion (sometimes itself called
res judicata)”).

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 6of7 Page ID #:362

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 6o0f7

 

 

in Vanowen’s motion to dismiss would be a waste of the parties’ efforts if the Ninth Circuit ends
up reversing the statute-of-limitations finding.

Vanowen suggests, without citing any authority, that even if the Ninth Circuit reversed the
statute-of-limitations finding, Plaintiffs’ claim would still be time-barred. Its theory appears to be
that the claim was time-barred the moment it was filed on March 18, 2020 and therefore it cannot
“toll[] the running of the statute of limitations” until it is “retroactively validated” by a Ninth
Circuit reversal in Arconix J. Opp. at 4. In effect, Vanowen argues that Plaintiffs cannot properly
bring their claim against Vanowen until affer a reversal by the Ninth Circuit (assuming it does
reverse), which would be futile here because the alternative statute-of-limitations deadline — March
31, 2020 — has also already expired. The Court is not persuaded by this argument. In the event of
a reversal, Plaintiffs could simply reassert their claim against Vanowen, which would relate back
to the one filed on March 18 and therefore be timely. Vanowen cannot get a “reversal-proof”
dismissal of Plaintiffs’ claim.

The Court acknowledges Vanowen’s point that Plaintiffs have not explained why Vanowen
was not included in the Arconix J action. However, given the large effort required to track down
potential contributors over the decades of the Site’s history (Arconix I involved about 30
defendants on top of the over 200 defendants in the 2007 settlement), it is not surprising that some
potential contributors are not discovered until later in the process. Plaintiffs sought to avoid filing
this suit by obtaining agreements from potential contributors to toll the statute of limitations on
their CERCLA contribution claim. Valenzuela Decl. § 8. While they obtained the agreement of
several dozen parties, Vanowen — as well as the rest of the defendants — did not, resulting in this
litigation.

G. Conclusion

The Court finds that the present motion can be resolved without the need for oral argument.

Therefore, the June 29, 2020 hearing is taken off-calendar pursuant to C.D. Cal. L.R. 7-15.

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
Case 2:20-cv-02586-GW-E Document 55 Filed 06/26/20 Page 7of7 Page ID #:363

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date June 26, 2020
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 7of7

 

 

Based on the foregoing discussion, the Court GRANTS the motion for a stay.

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
